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           In the United States Court of Federal Claims
                                         No. 02-926C
                                    (Filed: April 16, 2010)


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                                           *
THE DETROIT EDISON COMPANY,                *
                                           *
             Plaintiff,                    *
                                           *
      v.                                   *
                                           *
THE UNITED STATES,                         *
                                           *
             Defendant.                    *
                                           *
                                           *
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         ___________________________________________________

                              SCHEDULING ORDER
               ___________________________________________________

       On April 16, 2010, the Court heard closing arguments in this matter, wherein
supplemental briefing was requested. Based on agreement of the parties, the Court sets the
following schedule for supplemental briefing:

      1. Plaintiff shall file any supplemental briefing on or before April 23, 2010.

      2. Defendant shall file any supplemental briefing on or before April 30, 2010.


                                           s/Mary Ellen Coster Williams __________
                                           Mary Ellen Coster Williams
                                           Judge
